
998 So.2d 634 (2008)
Jonathan STEELE, Petitioner,
v.
CITY OF TALLAHASSEE and Walter A. McNeil, Secretary, Florida Department of Corrections, et al., Respondents.
No. 1D08-3430.
District Court of Appeal of Florida, First District.
October 2, 2008.
Jonathan Steele, pro se, Petitioner.
No appearance for Respondents.
PER CURIAM.
The petition for writ of certiorari or writ of mandamus is denied. Any relief to which petitioner is entitled may be sought in the pending appeal in case number 1D08-3493.
BARFIELD, ALLEN, and THOMAS, JJ., concur.
